                       Case:18-00259-swd                        Doc #:30 Filed: 05/04/18                           Page 1 of 2
B2030 (Form 2030) (12/15)




                                      United States Bankruptcy Court
                                        _______________           Michigan
                                             Western District Of _______________

In re        Stephanie Lynn Buck
                                                                                                           18-00259-swd
                                                                                                Case No. ___________________

Debtor                                                                                          Chapter ____________________
                                                                                                             7
                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                450.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                               450.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                   0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

             X Debtor                                Other (specify)

3.   The source of compensation to be paid to me is:

             X Debtor                                Other (specify)

4.           X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
                   Case:18-00259-swd                 Doc #:30 Filed: 05/04/18                 Page 2 of 2
B2030 (Form 2030) (12/15)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:              representation in any
                                                                                                                    adversary proceeding




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           ______________________
            05/04/2018                            /s/ Michael O. King, Jr. (P71345)
           Date                                     Signature of Attorney


                                                    Name of law firm
